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                       Exhibit A

            Corporate and Capital Structure
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                     AVF Holding
                    Company, Inc.



                    AVF Holdings
                       I, LLC



                    AVF Holdings
                       II, LLC



                     AVF Parent,
                        LLC




 Levin Parent,                              Art Van                                      Comfort
      LLC                                Furniture, LLC                                 Mattress, LLC




Sam Levin, Inc.
                         AVF             AV Pure Sleep                                    Art Van
                     Franchising,         Franchising,               AVCE, LLC          Furniture of
                         LLC                  LLC                                       Canada, LLC
LF Trucking, Inc.

                                                                Art Van International
                                                                 Consulting Services
                                                                (Shenzhen) Company
                                                                      Limited
